               Case 18-70695-grs                  Doc 1         Filed 11/13/18 Entered 11/13/18 16:06:47                               Desc Main
                                                                Document      Page 1 of 95
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF KENTUCKY

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Justin
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Todd
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Trout
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Justin T. Trout
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7803
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Justin Todd Trout                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 5721 KY Route 404
                                 David, KY 41616
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Floyd
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Justin Todd Trout                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Eastern Air Flow, LLC                                        Relationship to you        sole member
                                                          Eastern District of
                                              District    Kentucky                      When     9/21/18               Case number, if known      18-51740-grs
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Justin Todd Trout                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   See Attachment
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Justin Todd Trout                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Justin Todd Trout                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Justin Todd Trout
                                 Justin Todd Trout                                                 Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     November 12, 2018                                 Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Justin Todd Trout                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Matthew B. Bunch                                               Date         November 12, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Matthew B. Bunch
                                Printed name

                                Bunch & Brock, PSC
                                Firm name

                                271 W. Short Street
                                805 Security Trust Building
                                Lexington, KY 40507-1217
                                Number, Street, City, State & ZIP Code

                                Contact phone     (859) 254-5522                             Email address

                                84931 KY
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Debtor 1         Justin Todd Trout                                                                  Case number (if known)


Fill in this information to identify your case:

Debtor 1                Justin Todd Trout
                        First Name                Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                Middle Name                Last Name


United States Bankruptcy Court for the:     EASTERN DISTRICT OF KENTUCKY

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


                                                  FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                Additional Sole Proprietorship(s)



Eastern Air Flow, LLC
Name of business, if any

5721 KY RT 404
David, KY 41616
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above


J.E.T. Investment Limited Liability Comp
Name of business, if any

5721 KY Route 404
David, KY 41616
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above




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 Fill in this information to identify your case:

 Debtor 1                   Justin Todd Trout
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             106,651.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             106,651.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             101,239.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             155,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,436,358.82


                                                                                                                                     Your total liabilities $             1,692,597.82


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,000.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,906.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Justin Todd Trout                                                          Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            155,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            155,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                Case 18-70695-grs                    Doc 1            Filed 11/13/18 Entered 11/13/18 16:06:47                           Desc Main
                                                                      Document     Page 11 of 95
 Fill in this information to identify your case and this filing:

 Debtor 1                   Justin Todd Trout
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF KENTUCKY

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Ford                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Transit                                       Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2013                                          Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:            ~200,000                  Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Business vehicle jointly owned
          with Eastern Airflow, LLC                                  Check if this is community property                   $5,000.00                    $5,000.00
                                                                     (see instructions)



  3.2      Make:       Ford                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      F150                                          Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2014                                          Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:            ~135,000                  Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another
          Valued between $12,000 and
          $14,000                                                    Check if this is community property                  $13,000.00                  $13,000.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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 Debtor 1        Justin Todd Trout                                                                                  Case number (if known)


  3.3    Make:       Toyota                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Rav4                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         good condition
         value is estimated at $20,000                               Check if this is community property                              $20,000.00                 $20,000.00
         PVA assessed on 8/30/2017 at                                (see instructions)

         $23,575


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Trailer                                   Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         In November 2017, Debtor was                                Check if this is community property                                 $100.00                     $100.00
         driving his personal vehicle                                (see instructions)

         (Nissan Titan) and trailer, which
         were involved in a
         vehicle accident. The Titan and
         trailer were totaled and
         Nationwide Mutual Insurance
         Company took possession of
         the them and paid for the trailer
         of $7,000 and paid approx.
         $50k, being the FMV of the
         Titan, to Debtor's lender.
         Debtor purchased the trailer
         back from the insurance
         company. There is no title to
         the trailer. This is disclosed
         because he put company
         stickers on the trailer, but he
         owned it personally. This is the
         subject of a pending lawsuit.
         Trailer's value is est. at $100/



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $38,100.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       Justin Todd Trout                                                                   Case number (if known)


                                    Regular household goods and items
                                    FMV is $5,000, owned jointly with wife

                                    The values listed with regard to all items in Schedule B represent
                                    the debtor(s) best estimate as to the amount the items could be
                                    sold for, used and "as is," to a willing buyer. None of the values
                                    are intended to represent the replacement value, actual cash
                                    value, or any other value of the listed items as defined by any
                                    insurance policy maintained by the debtor(s).                                                                $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    cell phones, TV, computers, and small misc. items
                                    FMV $1,000, owned jointly with wife                                                                            $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes and accessories
                                    FMV $500
                                    Jointly owned with wife                                                                                        $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding band, 1 Fossil watch and misc. small items                                                             $250.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No

Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $3,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on Hand                           $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Commonwealth Credit Union checking
                                                                                                  account
                                              17.1.       checking                                currently -$150                                                         $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  100% owner of Eastern Air Flow, LLC, which
                                                  filed chapter 7 bankruptcy on September 21,
                                                  2018 in the United States Bankruptcy Court for
                                                  the Eastern District of Kentucky, Lexington
                                                  Division, Case #18-51740-grs                                                     100%          %                        $1.00


                                                  100% owner of J.E.T. Investments Limited
                                                  Liability Company, which owns a warehouse
                                                  (unfinished, cinder block structure) located at
                                                  465 Bucks Branch Road, Martin, KY 41649;
                                                  Purchase price was approx. $80,000 in 2016
                                                  FMV $55,000; PVA is approx. $100,000
                                                  Mortgage granted to First Commonwealth Bank
                                                  Amount owed as of 11/21/2017 is $55,239                                          100%          %                $55,000.00


                                                  100% owner of Eastern Airflow Ashland, LLC
                                                  3401 Winchester Ave
                                                  Ashland, KY 41101                                                                              %                        $0.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 4
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          Pension                           Kentucky Retirement System: debtor was
                                                                            principal at the Millard ATC High School in
                                                                            Pike County for 4 years and may have
                                                                            received and been eligible to receive a
                                                                            retirement. Amount is not currently known
                                                                            but estimated at $10,000                                                 $10,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......

Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                          Personal injury claim against Colton Lindsey for causing car
                                                          accident in November 2017 when he crossed centerline of
                                                          road and hit Debtor in his 2016 Nissan Titan. Action is
                                                          pending in Magoffin Circuit Court, Case #18-CI-00020.
                                                          Plaintiff's attorney is Billy Johnson @ Johnson Law Firm, PO
                                                          Box 1517, Pikeville, Ky 41502. No trial date is scheduled.                                                        Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $65,051.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6
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 Debtor 1         Justin Todd Trout                                                                                                     Case number (if known)


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $38,100.00
 57. Part 3: Total personal and household items, line 15                                                       $3,500.00
 58. Part 4: Total financial assets, line 36                                                                  $65,051.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $106,651.00               Copy personal property total          $106,651.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $106,651.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
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 Fill in this information to identify your case:

 Debtor 1                 Justin Todd Trout
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2015 Toyota Rav4                                                $20,000.00                                 $2,000.00     11 U.S.C. § 522(d)(2)
      good condition
      value is estimated at $20,000                                                        100% of fair market value, up to
      PVA assessed on 8/30/2017 at                                                         any applicable statutory limit
      $23,575
      Line from Schedule A/B: 3.3

      Trailer                                                             $100.00                                  $100.00     11 U.S.C. § 522(d)(5)
      In November 2017, Debtor was
      driving his personal vehicle (Nissan                                                 100% of fair market value, up to
      Titan) and trailer, which were                                                       any applicable statutory limit
      involved in a
      vehicle accident. The Titan and trailer
      were totaled and Nationwide Mutual
      Insurance Company took possession
      of the them and paid for t
      Line from Schedule A/B: 4.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Regular household goods and items                                 $2,500.00                                 $2,500.00        11 U.S.C. § 522(d)(3)
     FMV is $5,000, owned jointly with
     wife                                                                                  100% of fair market value, up to
                                                                                           any applicable statutory limit
     The values listed with regard to all
     items in Schedule B represent the
     debtor(s) best estimate as to the
     amount the items could be sold for,
     used and "as is," to a willing buyer.
     Line from Schedule A/B: 6.1

     cell phones, TV, computers, and                                     $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     small misc. items
     FMV $1,000, owned jointly with wife                                                   100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     Clothes and accessories                                             $250.00                                   $250.00        11 U.S.C. § 522(d)(3)
     FMV $500
     Jointly owned with wife                                                               100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     Wedding band, 1 Fossil watch and                                    $250.00                                   $250.00        11 U.S.C. § 522(d)(4)
     misc. small items
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on Hand                                                         $50.00                                    $50.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     100% owner of Eastern Air Flow,                                        $1.00                                     $1.00       11 U.S.C. § 522(d)(5)
     LLC, which filed chapter 7
     bankruptcy on September 21, 2018 in                                                   100% of fair market value, up to
     the United States Bankruptcy Court                                                    any applicable statutory limit
     for the Eastern District of Kentucky,
     Lexington Division, Case
     #18-51740-grs
     100%
     Line from Schedule A/B: 19.1

     100% owner of J.E.T. Investments                                 $55,000.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Limited Liability Company, which
     owns a warehouse (unfinished,                                                         100% of fair market value, up to
     cinder block structure) located at 465                                                any applicable statutory limit
     Bucks Branch Road, Martin, KY
     41649; Purchase price was approx.
     $80,000 in 2016
     FMV $55,000; PVA is approx.
     $100,000
     Mo
     Line from Schedule A/B: 19.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Pension: Kentucky Retirement                                     $10,000.00                               $10,000.00         11 U.S.C. § 522(d)(10)(E)
     System: debtor was principal at the
     Millard ATC High School in Pike                                                       100% of fair market value, up to
     County for 4 years and may have                                                       any applicable statutory limit
     received and been eligible to receive
     a retirement. Amount is not currently
     known but estimated at $10,000
     Line from Schedule A/B: 21.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Justin Todd Trout
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BB&T Bank                                Describe the property that secures the claim:                 $18,000.00               $13,000.00            $5,000.00
         Creditor's Name                          2014 Ford F150 ~135,000 miles
                                                  Valued between $12,000 and
                                                  $14,000
                                                  As of the date you file, the claim is: Check all that
         PO Box 1290                              apply.
         Whiteville, NC 28472                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


         First Commonwealth
 2.2                                                                                                            $55,239.00               $55,000.00                     $0.00
         Bank                                     Describe the property that secures the claim:
         Creditor's Name                          100% owner of J.E.T. Investments
                                                  Limited Liability Company, which
                                                  owns a warehouse (unfinished,
                                                  cinder block structure) located at
                                                  465 Bucks Branch Road, Martin, KY
                                                  41649; Purchase price was approx.
                                                  $80,000 in 2016
         311 N. Arnold Avenue                     FMV $55,000; PVA is appr
                                                  As of the date you file, the claim is: Check all that
         Prestonsburg, KY                         apply.
         41653-1264                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
               Case 18-70695-grs                         Doc 1          Filed 11/13/18 Entered 11/13/18 16:06:47                               Desc Main
                                                                        Document     Page 22 of 95
 Debtor 1 Justin Todd Trout                                                                                   Case number (if known)
               First Name                  Middle Name                      Last Name


    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     M&T Bank                                   Describe the property that secures the claim:                    $10,000.00            $5,000.00       $5,000.00
         Creditor's Name                            2013 Ford Transit ~200,000 miles
                                                    Business vehicle jointly owned with
                                                    Eastern Airflow, LLC
                                                    As of the date you file, the claim is: Check all that
         PO Box 17292                               apply.
         Baltimore, MD 21203                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     M&T Bank                                   Describe the property that secures the claim:                    $18,000.00           $20,000.00             $0.00
         Creditor's Name                            2015 Toyota Rav4
                                                    good condition
                                                    value is estimated at $20,000
                                                    PVA assessed on 8/30/2017 at
                                                    $23,575
                                                    As of the date you file, the claim is: Check all that
         PO Box 17292                               apply.
          PA 17292                                       Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $101,239.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $101,239.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Fill in this information to identify your case:

 Debtor 1                     Justin Todd Trout
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Erika Trout                                            Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO Box 653                                             When was the debt incurred?
              Martin, KY 41649
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        child support of $450 per month.
                                                                                         Debtor is current.
                                                                                         Listed for purposes of notice only.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                              48406                                             Best Case Bankruptcy
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                                                                      Document     Page 24 of 95
 Debtor 1 Justin Todd Trout                                                                                Case number (if known)

                                                                                                                            $125,000.0
 2.2        Internal Revenue Service                                 Last 4 digits of account number                                 0           $125,000.00                     $0.00
            Priority Creditor's Name
            PO Box 7346                                              When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2016 to 2018 - employee withholdings
                                                                                         Federal Tax Lien filed in the Floyd County Clerk's
                                                                                         Office on July 24, 2017, in Book 88, Page 686, for
                                                                                         $57,571.14 for 941 taxes

 2.3        Kentucky Revenue Cabinet                                 Last 4 digits of account number                        $30,000.00             $30,000.00                    $0.00
            Priority Creditor's Name
            Attn: Legal Dept - Bankruptcy                            When was the debt incurred?
            PO Box 5222
            Frankfort, KY 40602-5222
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          2016 to 2018 - employee withholdings

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 29
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.1      Air Flow Products, Inc.                                    Last 4 digits of account number                                                        $1,938.00
          Nonpriority Creditor's Name
          1001 KY 3057                                               When was the debt incurred?
          Somerset, KY 42501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt.
              Yes                                                       Other. Specify   Debtor may be personally liable for the debt


 4.2      Appalachian Wireless                                       Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          Attn: any Officer                                          When was the debt incurred?
          PO Box 630734
          Cincinnati, OH 45263-0734
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         wireless service for business: Eastern Air
                                                                                         Flow, LLC
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.3      Carrier Enterprise, LLC                                    Last 4 digits of account number       4817                                             $7,847.00
          Nonpriority Creditor's Name
          P.O. Box 32156                                             When was the debt incurred?
          New York, NY 10087-2156
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.4      Cintas Corp.                                               Last 4 digits of account number       5275                                             $7,487.00
          Nonpriority Creditor's Name
          P.O. Box 630910                                            When was the debt incurred?
          Cincinnati, OH 45263-0910
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.5      Citizens Bank of Kentucky                                  Last 4 digits of account number                                                        $6,576.00
          Nonpriority Creditor's Name
          c/o Jill Hall Rose, Esq.                                   When was the debt incurred?
          154 N. Ashland Ave.
          Lexington, KY 40502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt of Eastern Air Flow LLC.
                                                                                         Debtor is personally liable for this debt via
              Yes                                                       Other. Specify   guaranty




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.6      Clayton E. Holland, Jr.                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          106 Scott Perry Drive                                      When was the debt incurred?
          Paintsville, KY 41240
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         terminated lease dated November 2, 2015 of
                                                                                         premises located at 3757 S. Highway US23,
                                                                                         Prestonsburg, KY 41653.
                                                                                         business debt for Eastern Air Flow, LLC
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.7      Commonwealth Credit Union                                  Last 4 digits of account number                                                           $150.00
          Nonpriority Creditor's Name
          PO Box 978                                                 When was the debt incurred?
          Frankfort, KY 40602-0978
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   negative checking account balance




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.8      Corken Steele Products                                     Last 4 digits of account number                                                      $24,000.00
          Nonpriority Creditor's Name
          c/o Robert Richardson                                      When was the debt incurred?
          7920 Kentucky Drive
          Florence, KY 41042
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         debt owed
                                                                                         NSF checks
                                                                                         business debt for Eastern Air Flow, LLC
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.9      Discover Bank                                              Last 4 digits of account number                                                        $2,500.00
          Nonpriority Creditor's Name
          PO Box 30943                                               When was the debt incurred?
          Salt Lake City, UT 84130-0943
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.1
 0        Eastern Air Flow, LLC                                      Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5721 KY RT 404                                             When was the debt incurred?
          David, KY 41616
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential claims, if any, by Debtor's
                                                                                         company
              Yes                                                       Other. Specify   Listed for purposes of notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.1
 1        EKB-TV                                                     Last 4 digits of account number       0245                                             $2,001.00
          Nonpriority Creditor's Name
          P.O. Box 2200                                              When was the debt incurred?
          Pikeville, KY 41502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Advertising fees for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.


 4.1
 2        Ferguson Enterprises                                       Last 4 digits of account number                                                     $876,000.00
          Nonpriority Creditor's Name
          fdba Brock McVey                                           When was the debt incurred?
          c/o True Guarnieri Ayer LLP
          124 Clinton Street
          Frankfort, KY 40601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection action filed in September 2018
                                                                                         alleging fradulent transfers to Eastern Air
                                                                                         Flow of Kentucky, LLC, recently
                                                                                         incorporated and owned by Taylor M.
                                                                                         Trout, however, no assets were transferred
              Yes                                                       Other. Specify   to or used by it.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.1
 3        FESCO                                                      Last 4 digits of account number       1817                                             $8,885.00
          Nonpriority Creditor's Name
          868 Dr. W.J. Hodge Street                                  When was the debt incurred?
          Louisville, KY 40210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         labor supplies for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.


 4.1
 4        Fire Alarm & Security System Co                            Last 4 digits of account number                                                        $9,000.00
          Nonpriority Creditor's Name
          c/o Bornstein& Bornstein PSC                               When was the debt incurred?
          4018 Bishop Lane
          Louisville, KY 40218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 29
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 4.1
 5        First Commonwealth Bank                                    Last 4 digits of account number       1967                                           $53,857.59
          Nonpriority Creditor's Name
          3112 N. Arnold Avenue                                      When was the debt incurred?
          Prestonsburg, KY 41653-1260
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         unpaid balance owed by Eastern Air Flow,
                                                                                         LLC and secured on Debtor's real estate of
                                                                                         warehouse, located in Prestonsburg, KY,
              Yes                                                       Other. Specify   valued at approx. $50,000


 4.1      Floyd Cty Broadcasting - WMDJ
 6        FM-100                                                     Last 4 digits of account number       5480                                             Unknown
          Nonpriority Creditor's Name
          P.O. Box 1530                                              When was the debt incurred?
          Martin, KY 41649
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Advertising fees for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.




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 4.1
 7        Foundation Finance Company                                 Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO Box 437                                                 When was the debt incurred?
          Schofield, WI 54476
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         unpaid contracts for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.


 4.1
 8        FTL Capital Partners, LLC                                  Last 4 digits of account number       5147                                           $12,964.45
          Nonpriority Creditor's Name
          aka FTL Finance                                            When was the debt incurred?
          c/o Lathrop Gage - Ben C. Struby
          2345 Grand Blvd., Suite 2200
          Kansas City, MO 64108-2618
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         unpaid contracts for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.




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 4.1
 9        Gilson Plaza, LLC                                          Last 4 digits of account number                                                      $14,000.00
          Nonpriority Creditor's Name
          418 Adair Road                                             When was the debt incurred?
          Lexington, KY 40502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         lease of premises located at 1066 E. New
                                                                                         Circle Road, Suite 1, Lexington, KY, dated
                                                                                         November 1, 2016. Lease is a 3 year lease
                                                                                         through Oct 31, 2019. Rent was paid
                                                                                         through end of August 2018 @ $1,000 per
              Yes                                                       Other. Specify   month. Personal Liability via guaranty


 4.2
 0        GPS Insight                                                Last 4 digits of account number                                                        $6,739.00
          Nonpriority Creditor's Name
          7201 E. Henkel Way #400                                    When was the debt incurred?
          Scottsdale, AZ 85255
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collections for business debt for Eastern
                                                                                         Air Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




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 4.2
 1        Gray Television Group, Inc.                                Last 4 digits of account number                                                        $3,620.00
          Nonpriority Creditor's Name
          1801 Halstead Blvd                                         When was the debt incurred?
          Tallahassee, FL 32309
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Advertising fees - WKYT; WYMT for
                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.2
 2        Hajoca Corporation                                         Last 4 digits of account number                                                      $13,620.00
          Nonpriority Creditor's Name
          c/o David O'Brien, Attorney @ Dal,                         When was the debt incurred?
          Inc.
          PO Box 162
          Clifton Heights, PA 19018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         debt owed for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




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 4.2
 3        Hazard Fire & Safety                                       Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          3962 KY 15                                                 When was the debt incurred?
           KY 41707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         fees for business debt for Eastern Air Flow,
                                                                                         LLC. Debtor believes he may be personally
              Yes                                                       Other. Specify   liable as guarantor for this debt.


 4.2
 4        Highlands Physical Therapy                                 Last 4 digits of account number                                                           $861.00
          Nonpriority Creditor's Name
          83 Dewey Street                                            When was the debt incurred?
          Prestonsburg, KY 41653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.2
 5        Highlands Regional Medical Center                          Last 4 digits of account number                                                        $8,742.00
          Nonpriority Creditor's Name
          PO Box 668                                                 When was the debt incurred?
          Prestonsburg, KY 41653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         medical services rendered
              Yes                                                       Other. Specify   $6,056 and $2,686




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 4.2
 6        Hughes Supply                                              Last 4 digits of account number                                                      $10,900.00
          Nonpriority Creditor's Name
          990 Pedigo Way                                             When was the debt incurred?
          Bowling Green, KY 42103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.


 4.2
 7        Jackson Systems, LLC                                       Last 4 digits of account number                                                        $5,900.00
          Nonpriority Creditor's Name
          5418 Elmwood Ave.                                          When was the debt incurred?
          Indianapolis, IN 46203-6025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




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 4.2      Kentucky Employer's Mutual
 8        Insurance Co                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o John E. Hinkel, Jr., Esq.                              When was the debt incurred?
          Fowler Bell PLLC
          300 W. Vine Street, #600
          Lexington, KY 40507
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection of a debt in Fayette Circuit Court
                                                                                         Case #16-CI-3315 for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.


 4.2
 9        Kentucky Labor Cabinet                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          Dept. of Workers' Claims                                   When was the debt incurred?
          657 Chamberlin Ave.
          Frankfort, KY 40601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         citation and civil penalty, abated, balance
                                                                                         less than demand letter dated January 31,
                                                                                         2018 of $14,000 for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.




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 4.3
 0        KochAir                                                    Last 4 digits of account number       0115                                                $330.00
          Nonpriority Creditor's Name
          1900 W. Lloyd Expressway                                   When was the debt incurred?
          Evansville, IN 47712
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.3
 1        Martin Gas, Inc.                                           Last 4 digits of account number       0076                                             $1,583.00
          Nonpriority Creditor's Name
          P.O. Box 783                                               When was the debt incurred?
          Hindman, KY 41822
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.3
 2        Modern Construction, Inc.                                  Last 4 digits of account number                                                        $1,806.00
          Nonpriority Creditor's Name
          P.O. Box 187                                               When was the debt incurred?
          Stanville, KY 41659
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.




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 4.3
 3        National Pen Company                                       Last 4 digits of account number                                                           $417.00
          Nonpriority Creditor's Name
          P.O. Box 847203                                            When was the debt incurred?
          Dallas, TX 75284-7203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.3
 4        Nationwide                                                 Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          328 High Land Park Dr.                                     When was the debt incurred?
          Richmond, KY 40475
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.3
 5        Premier Capital Funding, LLC                               Last 4 digits of account number                                                      $92,143.00
          Nonpriority Creditor's Name
          9265 4th Ave.                                              When was the debt incurred?
          Brooklyn, NY 11209
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt of Eastern Air Flow LLC.
                                                                                         Debtor believes he is personally liable via
              Yes                                                       Other. Specify   guaranty




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 4.3
 6        Prestonsburg Primary Care                                  Last 4 digits of account number                                                           $323.00
          Nonpriority Creditor's Name
          535 N. Lake Drive                                          When was the debt incurred?
          Prestonsburg, KY 41653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.3
 7        R.E. Michel Company                                        Last 4 digits of account number                                                      $95,795.00
          Nonpriority Creditor's Name
          One R.E. Michel Drive                                      When was the debt incurred?
          Glen Burnie, MD 21060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Judgment Lien filed on
                                                                                         6/11/2018 in Book 91, Page 696 in Floyd
              Yes                                                       Other. Specify   County Clerk's Office.


 4.3
 8        R.L. Craig Company, Inc.                                   Last 4 digits of account number                                                      $38,524.00
          Nonpriority Creditor's Name
          11524 Commonwealth Drive                                   When was the debt incurred?
          Louisville, KY 40299
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 4.3
 9        Sinclair Broadcast Group - WDKY                            Last 4 digits of account number       1533                                             $1,500.00
          Nonpriority Creditor's Name
          P.O. Box 206270                                            When was the debt incurred?
          Dallas, TX 75320-6270
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Advertising for business debt for Eastern
                                                                                         Air Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.


 4.4
 0        Square Capital                                             Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          1455 Market Street, #600                                   When was the debt incurred?
          San Francisco, CA 94103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         fees owed for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.


 4.4
 1        State Electric Supply                                      Last 4 digits of account number                                                        $1,135.00
          Nonpriority Creditor's Name
          PO Box 890889                                              When was the debt incurred?
          Charlotte, NC 28289
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         debt owed for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.




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 4.4
 2        Sujata Gutti                                               Last 4 digits of account number                                                        $3,502.00
          Nonpriority Creditor's Name
          515 S. Bypass Road, #101                                   When was the debt incurred?
          Pikeville, KY 41501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.4
 3        Sunbelt Rentals                                            Last 4 digits of account number       1829                                             $6,046.00
          Nonpriority Creditor's Name
          PO Box 410968                                              When was the debt incurred?
          Charlotte, NC 28241
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt of Eastern Air Flow LLC.
                                                                                         Debtor believes he may be personally liable
                                                                                         for the debt via guaranty. Amount is
              Yes                                                       Other. Specify   estimated


 4.4
 4        The UPS Store                                              Last 4 digits of account number                                                        $4,503.00
          Nonpriority Creditor's Name
          4145 N. Mayo Trail                                         When was the debt incurred?
          Pikeville, KY 41501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.




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 4.4
 5        Thermal Equipment Sales, Inc.                              Last 4 digits of account number       AS08                                             $3,100.00
          Nonpriority Creditor's Name
          680 Bizzell Drive                                          When was the debt incurred?
          Lexington, KY 40510
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.4
 6        Trane Supply                                               Last 4 digits of account number                                                           $400.00
          Nonpriority Creditor's Name
          115 49th Street                                            When was the debt incurred?
          Brooklyn, NY 11232
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.


 4.4
 7        UK Healthcare                                              Last 4 digits of account number                                                           $513.00
          Nonpriority Creditor's Name
          Department of Patient Accounts                             When was the debt incurred?
          Room A101
          1000 South Limestone, Pavilion A
          Lexington, KY 40536
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered




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 4.4
 8        UMG                                                        Last 4 digits of account number                                                        $2,500.00
          Nonpriority Creditor's Name
          241 Covington Drive                                        When was the debt incurred?
          Bloomingdale, IL 60108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   medical services rendered


 4.4
 9        US Bank                                                    Last 4 digits of account number       x509                                           $10,165.00
          Nonpriority Creditor's Name
          PO Box 790179                                              When was the debt incurred?
          Saint Louis, MO 63179-0179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt with Eastern Air Flow LLC


 4.5
 0        US Bank                                                    Last 4 digits of account number       4311                                                $380.78
          Nonpriority Creditor's Name
          PO Box 6335                                                When was the debt incurred?
          Fargo, ND 58125-6335
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card




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 4.5
 1        US Bank                                                    Last 4 digits of account number       x195                                             $1,707.00
          Nonpriority Creditor's Name
          Lexington/Central KY - Indirect                            When was the debt incurred?
          Lending
          PO Box 790179
          Saint Louis, MO 63179-0179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.5
 2        US Bank                                                    Last 4 digits of account number       4311                                                $151.00
          Nonpriority Creditor's Name
          Cardmember Services                                        When was the debt incurred?
          PO Box 6352
          Fargo, ND 58125-6352
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.5      US Bank Business Edge Platinum
 3        Card                                                       Last 4 digits of account number       6263                                                $843.00
          Nonpriority Creditor's Name
          Cardmember Services                                        When was the debt incurred?
          PO Box 6353
          Fargo, ND 58125-6353
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt and debtor is personally
              Yes                                                       Other. Specify   liable




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 4.5
 4        US Bank NA                                                 Last 4 digits of account number       x516                                           $18,000.00
          Nonpriority Creditor's Name
          PO Box 3427                                                When was the debt incurred?
          Oshkosh, WI 54903
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         lien on 2014 Dodge Ram ProMaster, lien
                                                                                         filed on 2/3/2015 in Floyd County Clerk's
                                                                                         Office, which vehicle is owned by Eastern
                                                                                         Airflow, LLC.
                                                                                         Debtor is personally liable for this business
              Yes                                                       Other. Specify   debt.


 4.5
 5        US Bank NA                                                 Last 4 digits of account number                                                      $10,000.00
          Nonpriority Creditor's Name
          PO Box 3427                                                When was the debt incurred?
          Oshkosh, WI 54903
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         2016 Nissan Titan
                                                                                         deficiency claim on totaled vehicle from
              Yes                                                       Other. Specify   November 2017 accident




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 4.5
 6        Valassis Direct Mail                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14550 Torrey Chase Blvd. #500                              When was the debt incurred?
          Houston, TX 77040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.5
 7        Verizon Wireless                                           Last 4 digits of account number       0001                                             $1,385.00
          Nonpriority Creditor's Name
          524 W. New Circle Road, Ste. 100                           When was the debt incurred?
          Lexington, KY 40511
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection for business debt for Eastern Air
                                                                                         Flow, LLC. Debtor believes he may be
              Yes                                                       Other. Specify   personally liable as guarantor for this debt.


 4.5
 8        W. Va. Electric Supply Co.                                 Last 4 digits of account number                                                        $4,562.00
          Nonpriority Creditor's Name
          250 12th Street West                                       When was the debt incurred?
          Huntington, WV 25704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.




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 4.5
 9        WDOC, Inc.                                                 Last 4 digits of account number                                                           $495.00
          Nonpriority Creditor's Name
          P.O. Box 345                                               When was the debt incurred?
          Prestonsburg, KY 41653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.6
 0        Wells Fargo Bank, NA                                       Last 4 digits of account number                                                      $29,532.00
          Nonpriority Creditor's Name
          c/o Millsap & Singer LLC                                   When was the debt incurred?
          612 Spirit Drive
          Chesterfield, MO 63005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         collection of a debt for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.




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 4.6
 1         Whayne Supply Company                                     Last 4 digits of account number       4509                                                       $935.00
           Nonpriority Creditor's Name
           10001 Linn Station Road                                   When was the debt incurred?
           Louisville, KY 40232
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         business debt for Eastern Air Flow, LLC.
                                                                                         Debtor believes he may be personally liable
              Yes                                                       Other. Specify   as guarantor for this debt.


 4.6
 2         WQHY-FM                                                   Last 4 digits of account number       3055                                                       $495.00
           Nonpriority Creditor's Name
           P.O. Box 345                                              When was the debt incurred?
           Prestonsburg, KY 41653
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Advertising fees for business debt for
                                                                                         Eastern Air Flow, LLC. Debtor believes he
                                                                                         may be personally liable as guarantor for
              Yes                                                       Other. Specify   this debt.

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Adam S. Hall, Esq.                                            Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Vanover Hall & Bartley PSC                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 126 Trivette Drive, #302
 Pikeville, KY 41501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Brock McVey                                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 55487                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Lexington, KY 40555
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ernest V. Thomas III                                          Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Thomas & Thomas Attorneys at Law                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 2323 Park Ave.

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 27 of 29
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 Debtor 1 Justin Todd Trout                                                                              Case number (if known)

 Cincinnati, OH 45206
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gray Television Group                                         Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 dba WKYT and WYMT                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 4370 Peachtree Road NE
 Atlanta, GA 30319
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System Collections                                        Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 64437                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 St. Paul, MN 55164-0437
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 James D. Lyon                                                 Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Chapter 7 Trustee                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 100 E. Vine Street, #404
 Lexington, KY 40507
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Phil Allen, Attorney                                          Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Richard James & Assoc.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 4317 NE Thurton Way, #270
 Vancouver, WA 98662
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rich Fatalo, Attorney                                         Line 4.56 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 400 W. cummings Park, Ste 4450                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Woburn, MA 01801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Thomas & Thomas Attorneys at Law                              Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2323 Park Ave.                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45206
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 UK HealthCare                                                 Line 4.47 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1688                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Lexington, KY 40588-1688
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo                                                   Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Consumer Credit Services                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 51193
 Los Angeles, CA 90051-5493
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Bank                                              Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 800 Walnut, 6th Floor                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50309
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Corporate Office                                  Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 420 Montgomery Street                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 San Francisco, CA 94104
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 28 of 29
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 Debtor 1 Justin Todd Trout                                                                             Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $              155,000.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                    0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                    0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $              155,000.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             1,436,358.82

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             1,436,358.82




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 29 of 29
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                                                                      Document     Page 52 of 95
 Fill in this information to identify your case:

 Debtor 1                  Justin Todd Trout
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                Case 18-70695-grs                        Doc 1          Filed 11/13/18 Entered 11/13/18 16:06:47              Desc Main
                                                                        Document     Page 53 of 95
 Fill in this information to identify your case:

 Debtor 1                   Justin Todd Trout
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Eastern Air Flow, LLC                                                                  Schedule D, line
                5721 KY RT 404                                                                         Schedule E/F, line  4.8
                David, KY 41616
                                                                                                       Schedule G
                                                                                                     Corken Steele Products



    3.2         Eastern Air Flow, LLC                                                                  Schedule D, line
                5721 KY RT 404                                                                         Schedule E/F, line    4.6
                David, KY 41616
                                                                                                       Schedule G
                                                                                                     Clayton E. Holland, Jr.



    3.3         Eastern Air Flow, LLC                                                                  Schedule D, line
                5721 KY RT 404                                                                         Schedule E/F, line    4.4
                David, KY 41616
                                                                                                       Schedule G
                                                                                                     Cintas Corp.




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.3
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Carrier Enterprise, LLC



    3.5      Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.2
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Appalachian Wireless



    3.6      Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.11
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  EKB-TV



    3.7      Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.12
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Ferguson Enterprises



    3.8      Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.13
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  FESCO



    3.9      Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line  4.14
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  Fire Alarm & Security System Co



    3.10     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line 4.15
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  First Commonwealth Bank



    3.11     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line 4.16
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  Floyd Cty Broadcasting - WMDJ FM-100




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 2 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line   4.18
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  FTL Capital Partners, LLC



    3.13     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line   4.19
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  Gilson Plaza, LLC



    3.14     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.20
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  GPS Insight



    3.15     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line  4.21
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Gray Television Group, Inc.



    3.16     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.22
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Hajoca Corporation



    3.17     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.23
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Hazard Fire & Safety



    3.18     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.26
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Hughes Supply



    3.19     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.27
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Jackson Systems, LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 3 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.20     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.28
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Kentucky Employer's Mutual Insurance Co



    3.21     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.29
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Kentucky Labor Cabinet



    3.22     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.30
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  KochAir



    3.23     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.31
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Martin Gas, Inc.



    3.24     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line  4.32
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Modern Construction, Inc.



    3.25     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.33
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  National Pen Company



    3.26     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.34
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Nationwide



    3.27     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.37
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  R.E. Michel Company




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 4 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.28     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line  4.38
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  R.L. Craig Company, Inc.



    3.29     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line 4.39
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Sinclair Broadcast Group - WDKY



    3.30     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.40
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Square Capital



    3.31     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.41
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  State Electric Supply



    3.32     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.44
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  The UPS Store



    3.33     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.45
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Thermal Equipment Sales, Inc.



    3.34     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.46
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Trane Supply



    3.35     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.54
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  US Bank NA




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 5 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.36     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.56
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Valassis Direct Mail



    3.37     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.57
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Verizon Wireless



    3.38     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line   4.58
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  W. Va. Electric Supply Co.



    3.39     Eastern Air Flow, LLC                                                                 Schedule D, line
             5721 KY RT 404                                                                        Schedule E/F, line     4.59
             David, KY 41616
                                                                                                   Schedule G
                                                                                                  WDOC, Inc.



    3.40     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.60
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Wells Fargo Bank, NA



    3.41     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.61
             David, KY 41616
                                                                                                   Schedule G
                                                                                                  Whayne Supply Company



    3.42     Eastern Air Flow, LLC                                                                 Schedule D, line
             5721 KY RT 404                                                                        Schedule E/F, line     4.62
             David, KY 41616
                                                                                                   Schedule G
                                                                                                  WQHY-FM



    3.43     Eastern Air Flow, LLC                                                                  Schedule D, line   2.1
             5721 KY RT 404                                                                         Schedule E/F, line
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  BB&T Bank




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 6 of 7
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 Debtor 1 Justin Todd Trout                                                                  Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.44     Eastern Air Flow, LLC                                                                  Schedule D, line   2.3
             5721 KY RT 404                                                                         Schedule E/F, line
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  M&T Bank



    3.45     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line 4.5
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  Citizens Bank of Kentucky



    3.46     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line  4.35
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Premier Capital Funding, LLC



    3.47     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.43
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  Sunbelt Rentals



    3.48     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line    4.49
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  US Bank



    3.49     Eastern Air Flow, LLC                                                                  Schedule D, line
             5721 KY RT 404                                                                         Schedule E/F, line 4.53
             David, KY 41616
                                                                                                    Schedule G
                                                                                                  US Bank Business Edge Platinum Card



    3.50     Eastern Air Flow, LLC                                                                   Schedule D, line
             5721 KY RT 404                                                                          Schedule E/F, line   4.1
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  Air Flow Products, Inc.



    3.51     J.E.T. Investments LLC                                                                  Schedule D, line   2.2
             5721 KY Route 404                                                                       Schedule E/F, line
             David, KY 41616
                                                                                                     Schedule G
                                                                                                  First Commonwealth Bank




Official Form 106H                                                            Schedule H: Your Codebtors                                Page 7 of 7
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Fill in this information to identify your case:

Debtor 1                      Justin Todd Trout

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF KENTUCKY

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                                                   unemployed since Aug 31,
       Include part-time, seasonal, or       Occupation            2018                                       Self-employed
       self-employed work.
                                             Employer's name                                                  Eastern Air Flow of Kentucky, LLC
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                                                              807 E. Main Street
                                                                                                              Richmond, KY 40475

                                             How long employed there?                                                   since August 9, 2018

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00      $             0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00             $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Justin Todd Trout                                                                     Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
      5e.    Insurance                                                                     5e.        $              0.00     $                0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
      5g.    Union dues                                                                    5g.        $              0.00     $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $                0.00
      8g. Pension or retirement income                                                     8g.        $              0.00     $                0.00
                                               Business income or draws
      8h.    Other monthly income. Specify:    ($3,500 less est. taxes)                    8h.+ $                    0.00 + $          3,000.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $           3,000.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $          3,000.00 = $           3,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          3,000.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                 Justin Todd Trout                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF KENTUCKY                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            son                                  2 months            Yes
                                                                                                                                            No
                                                                                   daughter                             3                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Justin Todd Trout                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 125.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                350.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                  10.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  496.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Warehouse mortgage debt                                         17c. $                                                  550.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 450.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,906.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,906.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,000.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,906.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  94.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Justin Todd Trout
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Justin Todd Trout                                                     X
              Justin Todd Trout                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       November 12, 2018                                              Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Justin Todd Trout
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00          Wages, commissions,                       $0.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Justin Todd Trout                                                                           Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $37,064.00            Wages, commissions,              $18,000.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $36,806.00           Wages, commissions,                 Unknown
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Eastern Air Flow LLC                                        $2,000.00        Eastern Air Flow of                    $9,000.00
 the date you filed for bankruptcy:                                                                                Kentucky, LLC

 For last calendar year:                           Easter Air Flow LLC                            $4,319.00
 (January 1 to December 31, 2017 )

 For the calendar year before that:                Eastern Air Flow LLC                               $64.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Justin Todd Trout                                                                           Case number (if known)



       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Erika Trout                                               monthly child                    $900.00                 $0.00       Mortgage
       PO Box 653                                                support of $450                                                      Car
       Martin, KY 41649                                                                                                               Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other child support


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Cintas Corp. v. Debtor and/or                             collection action          Boyd Circuit Court                         Pending
       Eastern Air Flow, LLC,                                                                                                          On appeal
       18-CI-407
                                                                                                                                       Concluded


       Citizens Bank of Kentucky v.                              collection                 Floyd Circuit Court                        Pending
       Debtor and/or Eastern Air Flow,                                                                                                 On appeal
       LLC,
                                                                                                                                       Concluded
       17-CI-333

       Ferguson Enterprises, fdba Brock                          collection                 Fayette Circuit Court                      Pending
       McVey, v. Debtor and/or Eastern                                                                                                 On appeal
       Air Flow, LLC,
                                                                                                                                       Concluded
       18-CI-3083

       Gray Television Group v. Debtor                           collection                 Floyd District Court                       Pending
       and/or Eastern Air Flow, LLC,                                                                                                   On appeal
       18-C-146
                                                                                                                                       Concluded




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 1      Justin Todd Trout                                                                           Case number (if known)



       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Premier Capital Funding, LLC, v.                          collection                 Richmond County Supreme                    Pending
       Debtor and/or Eastern Air Flow,                                                      Court                                      On appeal
       LLC,                                                                                 Stanten Island, NY
                                                                                                                                       Concluded
       484776

       R.E. Michel Company v. Debtor                             collection/Judgme          Floyd Circuit Court                        Pending
       and/or Eastern Air Flow, LLC,                             nt entered                                                            On appeal
       17-CI-546                                                 5/29/2018
                                                                                                                                       Concluded


       GPS Insights v. Debtor and/or                             collection                                                            Pending
       Eastern Air Flow, LLC,                                                                                                          On appeal
                                                                                                                                       Concluded


       Wells Fargo v. Debtor and/or                              collection                 Floyd Circuit Court                        Pending
       Eastern Air Flow, LLC,                                                                                                          On appeal
       18-CI-570
                                                                                                                                       Concluded


       Best Choice v. Debtor and/or                              collection                 Fayette Circuit Court                      Pending
       Eastern Air Flow, LLC,                                                                                                          On appeal
       17-CI-3839
                                                                                                                                       Concluded

                                                                                                                                    Business paid $10,000 to
                                                                                                                                    settle in February 2018

       Kentucky Employer's Mutual                                collection                 Fayette Circuit Court                      Pending
       Insurance Company v. Debtor                                                                                                     On appeal
       and/or Eastern Air Flow, LLC,
                                                                                                                                       Concluded
       16-CI-3315

       Fire Alarm & Security Systems Co.                         collection                 Floyd Circuit Court                        Pending
       v. Debtor and/or Eastern Air Flow,                                                                                              On appeal
       LLC,
                                                                                                                                       Concluded
       18-CI-376

       Greg Jarvis v. Debtor and/or                              collection                 Floyd District Court                       Pending
       Eastern Air Flow, LLC,                                    case dismissed in                                                     On appeal
       18-C-32                                                   April 2018
                                                                                                                                       Concluded


       Commonwealth of Kentucky v.                               allegation of NSF          Fayette District Court                     Pending
       Justin Trout                                              checks to Corken                                                      On appeal
       18-F-2530                                                 Steele Products
                                                                                                                                       Concluded
                                                                 and/or R.E. Michel
                                                                 Co., Inc.
                                                                                                                                    Arraignment 9/26/2018 with
                                                                                                                                    continuance to 11/14/2018

       Commonwealth of Kentucky v.                               alleged NSF check          Madison District Court                     Pending
       Debtor                                                    for $86.75 to                                                         On appeal
                                                                 Richmond Utilities
                                                                                                                                       Concluded

                                                                                                                                    Total paid $186.75




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 Debtor 1      Justin Todd Trout                                                                           Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Debtor v. Colton Lindsey,                                 Personal and               Magoffin Circuit Court                      Pending
       Nationwide Mutual Ins. and State                          property damage                                                        On appeal
       Farm Mutual Automobile Insurance                          lawsuit
                                                                                                                                        Concluded
       18-T-20


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       See potential judgment liens above                                                                                                                       $0.00

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                                                                                  loss                             lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Bunch & Brock, PSC                                             Attorney Fees                                           $3,165 plus                $3,165.00
       271 W. Short Street                                                                                                    filing fee on
       805 Security Trust Building                                                                                            11/6/2018
       Lexington, KY 40507-1217


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment               Amount of
       Address                                                        transferred                                             or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or         Date transfer was
       Address                                                        property transferred                      payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you




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       Person Who Received Transfer                                   Description and value of                  Describe any property or     Date transfer was
       Address                                                        property transferred                      payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       321 Auto Sales - junk yard                                     In the last 2 years, Debtor               Debtor also junked 2003
       Prestonsburg, KY                                               scraped old business                      Chevy Avalanche for
                                                                      vehicles used in Eastern Air              $100 in March 7, 2017
       none                                                           Flow LLC to get rid of them               because transmission
                                                                      in July/August 2018 in the                blew up.
                                                                      ordinary course of business
                                                                      for $100 each:
                                                                      1998 Ford E142 Van in June
                                                                      2018; 2005 Chevy Colorado
                                                                      in July 2018; 1996 Chevy
                                                                      Astro in May 2018; 2003
                                                                      Dodge Cargo Van in 2016;
                                                                      2000 Chevy Astro in January
                                                                      2017; 2006 Dodge Durango
                                                                      in Dec. 2016; 2005 GMC
                                                                      Envoy in Jan. 2016; 2004
                                                                      Hyundai Stana Fe in fall
                                                                      2017; 1997 Ford E250 van in
                                                                      July/Aug 2018; 1996 Ford
                                                                      E150 in 2018.

       Nationwide Mutual Insurance Company                            Nationwide Insurance,
       serve: Corporation Service Company                             Debtor's insurance
       421 W. Main Street                                             company. Debtor transferred
       Frankfort, KY 40601                                            2016 Nissan Titan that was
                                                                      totaled in November 2017
       none                                                           with a head-on crash with
                                                                      another vehicle who crossed
                                                                      the double yellow line.
                                                                      Debtor was injured and a
                                                                      lawsuit is currently pending
                                                                      relating to his injuries, as
                                                                      well as the loss of property
                                                                      damage. Nationwide paid
                                                                      U.S. Bank, who held the lien
                                                                      on the vehicle, but left a
                                                                      $10,000 deficiency.

       Hammons Garage                                                 Repairs exceeded the cost of
       Prestonsburg, KY                                               the vehicle, so Debtor
                                                                      signed title to transfer it to
       none                                                           him in the fall 2016: 2005
                                                                      Chrysler Town and Country.
                                                                      Assessed value was $1,100
                                                                      but repairs were $1,500 for
                                                                      new motor.

       Precision Automotive                                           Repairs exceeded the cost of
       Prestonsburg, KY                                               the vehicle, so Debtor
                                                                      signed title to transfer it to
       none                                                           him in the June 2018. 2008
                                                                      Ford F150.




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 Debtor 1      Justin Todd Trout                                                                           Case number (if known)



       Person Who Received Transfer                                   Description and value of                  Describe any property or      Date transfer was
       Address                                                        property transferred                      payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you
       Taylor Trout                                                   In May 2018, debtor                                                     May 2018
       5721 Ky Route 404                                              transferred to his wife,
       David, KY 41616                                                Taylor Trout, a 2002 Chevy
                                                                      Avalanche, FMV of $1,500,
       debtor's wife                                                  with high mileage of 205,000
                                                                      (as of the date of transfer)
                                                                      and 2007 Chevy 1500 truck,
                                                                      FMV of $500, with high
                                                                      mileage of 315,000 (as of the
                                                                      date of transfer). The truck
                                                                      has closer to 400,000 miles
                                                                      on it currently.

       Unknown third party - through                                  In summer of 2017, Debtor                                               July 2017
       FaceBook                                                       sold a 1982 ProCraft boat to
       Pikeville, KY                                                  a guy that he found on
                                                                      FaceBook for $4,500. Boat
       none                                                           had a 2012 Evin 115 hp
                                                                      engine.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                       Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred
       US Bank                                                   XXXX-8033                    Checking                  closed in                           $0.00
                                                                                              Savings
                                                                                                                        September/Octob
                                                                                                                        er 2018
                                                                                              Money Market
                                                                                                                        checking
                                                                                              Brokerage
                                                                                                                        account used as
                                                                                              Other                     a business
                                                                                                                        account

       Citizens Bank                                             XXXX-162                     Checking                  Citizens Bank                       $0.00
                                                                                              Savings
                                                                                                                        checking acct.
                                                                                                                        #x162 was jointly
                                                                                              Money Market
                                                                                                                        owned with wife,
                                                                                              Brokerage
                                                                                                                        Taylor M. Banks,
                                                                                              Other                     and in July 2018,
                                                                                                                        Debtor's name
                                                                                                                        was removed
                                                                                                                        from the
                                                                                                                        account.

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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                         have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                 have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

       Eastern Air Flow, LLC                                          in debtor's possession                 Eastern Air Flow, LLC's                 $140.00
       5721 KY RT 404                                                                                        equipment/furniture in
       David, KY 41616                                                                                       Prestonsburg store lease:
                                                                                                             (the landlord required all
                                                                                                             furniture/equipment to be
                                                                                                             removed from the leased
                                                                                                             premises around August 20,
                                                                                                             2018.
                                                                                                             2 computers and misc. items
                                                                                                             and 2 desks/2 chairs (value
                                                                                                             under $100)
                                                                                                             One filing cabinet $10
                                                                                                             Old couch $10
                                                                                                             Small bar (purchased from
                                                                                                             Big Lots) $10
                                                                                                             Old phones (purchased from
                                                                                                             Walmart) $10
                                                                                                             Signs (twp 12'x24' billboards
                                                                                                             and 4'8' were disposed)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Eastern Air Flow, LLC                                     heating and air conditioning                         EIN:       XX-XXXXXXX
       5721 KY RT 404                                            business
       David, KY 41616                                           There is another Eastern Air Flow                    From-To    10/9/2013 to August 31, 2018
                                                                 LLC, organization #0780403, in
                                                                 the secretary of state's office that
                                                                 is inactive and was incorporate
                                                                 on 1/25/2011 and closed/dissolved
                                                                 on 8/30/2013. This was the former
                                                                 company that Debtor filed a
                                                                 Dissolution notice with the KY
                                                                 SOS office before Debtor reserved
                                                                 the name of Eastern Air Flow,
                                                                 LLC, organization #0869106.

                                                                 Darrell Madden, CPA
                                                                 Bailey Street, #1
                                                                 Hindman, KY 41822
                                                                 from inception to August 31, 2018,
                                                                 when the business closed down.


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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        J.E.T. Investment Limited Liability                      warehouse real estate rental                    EIN:
        Comp                                                     Administratively dissolved on
        5721 KY Route 404                                        10/16/2018                                      From-To      July 26, 2016 to 10/16/2018
        David, KY 41616                                          Debtor plans on re-instating this
                                                                 company



        Eastern Airflow Ashland, LLC                             heating and air conditioning                    EIN:
        3401 Winchester Ave.                                     business
        Ashland, KY 41101                                        Justin Trout is listed in the SOS's             From-To      10/17/2016 to present
                                                                 office as Manager. This business
                                                                 never operated and has no
                                                                 assets.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Brock McVey                                              debtor gave a personal financial
                                                                 statement in February 2018 to
                                                                 Brock-McVey

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Justin Todd Trout
 Justin Todd Trout                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date      November 12, 2018                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                 Justin Todd Trout
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF KENTUCKY

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         BB&T Bank                                            Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2014 Ford F150 ~135,000 miles                      Reaffirmation Agreement.
    property             Valued between $12,000 and                         Retain the property and [explain]:
    securing debt:       $14,000



    Creditor's         First Commonwealth Bank                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 100% owner of J.E.T.                                     Reaffirmation Agreement.
    property       Investments Limited Liability                            Retain the property and [explain]:
    securing debt: Company, which owns a
                   warehouse (unfinished, cinder
                   block structure) located at 465
                   Bucks Branch Road, Martin, KY
                   41649; Purchase price was
                   approx. $80,000 in 2016
                   FMV $55,000; PVA is appr




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Justin Todd Trout                                                                      Case number (if known)


    Creditor's     M&T Bank                                                 Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2013 Ford Transit ~200,000                          Reaffirmation Agreement.
    property            miles                                               Retain the property and [explain]:
    securing debt:      Business vehicle jointly owned
                        with Eastern Airflow, LLC


    Creditor's     M&T Bank                                                 Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 2015 Toyota Rav4                                         Reaffirmation Agreement.
    property       good condition                                           Retain the property and [explain]:
    securing debt: value is estimated at $20,000
                   PVA assessed on 8/30/2017 at
                   $23,575

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Justin Todd Trout                                                                     Case number (if known)


 X     /s/ Justin Todd Trout                                                        X
       Justin Todd Trout                                                                Signature of Debtor 2
       Signature of Debtor 1

       Date        November 12, 2018                                                Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                         page 3

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Justin Todd Trout
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Eastern District of Kentucky                           2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                      Copy here -> $                             $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $             Copy here -> $                             $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Justin Todd Trout                                                                       Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Justin Todd Trout
                Justin Todd Trout
                Signature of Debtor 1
        Date November 12, 2018
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Fill in this information to identify your case:

 Debtor 1            Justin Todd Trout

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Eastern District of Kentucky

 Case number                                                                                       Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                                                                                                If your exclusion period ends before your case is closed,
                          ending on                  , which is fewer than 540 days before I
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re       Justin Todd Trout                                                                                Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,165.00
             Prior to the filing of this statement I have received                                        $                     3,165.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Adversary actions, evidentiary hearings, liligation or discovery responses, appeals, audits, tax matters, divorce
               matters, relief matters, conversions, or issues involving sale of assets
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 12, 2018                                                            /s/ Matthew B. Bunch
     Date                                                                         Matthew B. Bunch
                                                                                  Signature of Attorney
                                                                                  Bunch & Brock, PSC
                                                                                  271 W. Short Street
                                                                                  805 Security Trust Building
                                                                                  Lexington, KY 40507-1217
                                                                                  (859) 254-5522
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Eastern District of Kentucky
 In re      Justin Todd Trout                                                                         Case No.
                                                                                   Debtor(s)          Chapter    7




                                          VERIFICATION OF MAILING LIST MATRIX


         I, Justin Todd Trout , the petitioner(s) in the above-styled bankruptcy action, declare under penalty of perjury that the
attached mailing list matrix of creditors and other parties in interest consisting of 8 page(s) is true and correct and complete, to the
best of my (our) knowledge.



 Date: November 12, 2018                                                /s/ Justin Todd Trout
                                                                        Justin Todd Trout
                                                                        Signature of Debtor



I,         Matthew B. Bunch             , counsel for the petitioner(s) in the above-styled bankruptcy action, declare that the attached
Master Address List consisting of 8 page(s) has been verified by comparison to Schedules D through H to be complete, to the best
of my knowledge. I further declare that the attached Master Address List can be relied upon by the Clerk of Court to provide notice to
all creditors and parties in interest as related to me by the debtor(s) in the above-styled bankruptcy action until such time as any
amendments may be made.




 Date: November 12, 2018                                                /s/ Matthew B. Bunch
                                                                        Signature of Attorney
                                                                        Matthew B. Bunch
                                                                        Bunch & Brock, PSC
                                                                        271 W. Short Street
                                                                        805 Security Trust Building
                                                                        Lexington, KY 40507-1217
                                                                        (859) 254-5522




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                         Adam S. Hall, Esq.
                         Vanover Hall & Bartley PSC
                         126 Trivette Drive, #302
                         Pikeville KY 41501


                         Air Flow Products, Inc.
                         1001 KY 3057
                         Somerset KY 42501


                         Appalachian Wireless
                         Attn: any Officer
                         PO Box 630734
                         Cincinnati OH 45263-0734


                         BB&T Bank
                         PO Box 1290
                         Whiteville NC 28472


                         Brock McVey
                         PO Box 55487
                         Lexington KY 40555


                         Carrier Enterprise, LLC
                         P.O. Box 32156
                         New York NY 10087-2156


                         Cintas Corp.
                         P.O. Box 630910
                         Cincinnati OH 45263-0910


                         Citizens Bank of Kentucky
                         c/o Jill Hall Rose, Esq.
                         154 N. Ashland Ave.
                         Lexington KY 40502


                         Clayton E. Holland, Jr.
                         106 Scott Perry Drive
                         Paintsville KY 41240


                         Commonwealth Credit Union
                         PO Box 978
                         Frankfort KY 40602-0978
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                     Corken Steele Products
                     c/o Robert Richardson
                     7920 Kentucky Drive
                     Florence KY 41042


                     Discover Bank
                     PO Box 30943
                     Salt Lake City UT 84130-0943


                     Eastern Air Flow, LLC
                     5721 KY RT 404
                     David KY 41616


                     EKB-TV
                     P.O. Box 2200
                     Pikeville KY 41502


                     Erika Trout
                     PO Box 653
                     Martin KY 41649


                     Ernest V. Thomas III
                     Thomas & Thomas Attorneys at Law
                     2323 Park Ave.
                     Cincinnati OH 45206


                     Ferguson Enterprises
                     fdba Brock McVey
                     c/o True Guarnieri Ayer LLP
                     124 Clinton Street
                     Frankfort KY 40601


                     FESCO
                     868 Dr. W.J. Hodge Street
                     Louisville KY 40210


                     Fire Alarm & Security System Co
                     c/o Bornstein& Bornstein PSC
                     4018 Bishop Lane
                     Louisville KY 40218


                     First Commonwealth Bank
                     3112 N. Arnold Avenue
                     Prestonsburg KY 41653-1260
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                     First Commonwealth Bank
                     311 N. Arnold Avenue
                     Prestonsburg KY 41653-1264


                     Floyd Cty Broadcasting - WMDJ FM-100
                     P.O. Box 1530
                     Martin KY 41649


                     Foundation Finance Company
                     PO Box 437
                     Schofield WI 54476


                     FTL Capital Partners, LLC
                     aka FTL Finance
                     c/o Lathrop Gage - Ben C. Struby
                     2345 Grand Blvd., Suite 2200
                     Kansas City MO 64108-2618


                     Gilson Plaza, LLC
                     418 Adair Road
                     Lexington KY 40502


                     GPS Insight
                     7201 E. Henkel Way #400
                     Scottsdale AZ 85255


                     Gray Television Group
                     dba WKYT and WYMT
                     4370 Peachtree Road NE
                     Atlanta GA 30319


                     Gray Television Group, Inc.
                     1801 Halstead Blvd
                     Tallahassee FL 32309


                     Hajoca Corporation
                     c/o David O'Brien, Attorney @ Dal, Inc.
                     PO Box 162
                     Clifton Heights PA 19018


                     Hazard Fire & Safety
                     3962 KY 15
                     KY 41707
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                     Highlands Physical Therapy
                     83 Dewey Street
                     Prestonsburg KY 41653


                     Highlands Regional Medical Center
                     PO Box 668
                     Prestonsburg KY 41653


                     Hughes Supply
                     990 Pedigo Way
                     Bowling Green KY 42103


                     I C System Collections
                     PO Box 64437
                     St. Paul MN 55164-0437


                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia PA 19101-7346


                     J.E.T. Investments LLC
                     5721 KY Route 404
                     David KY 41616


                     Jackson Systems, LLC
                     5418 Elmwood Ave.
                     Indianapolis IN 46203-6025


                     James D. Lyon
                     Chapter 7 Trustee
                     100 E. Vine Street, #404
                     Lexington KY 40507


                     Kentucky Employer's Mutual Insurance Co
                     c/o John E. Hinkel, Jr., Esq.
                     Fowler Bell PLLC
                     300 W. Vine Street, #600
                     Lexington KY 40507


                     Kentucky Labor Cabinet
                     Dept. of Workers' Claims
                     657 Chamberlin Ave.
                     Frankfort KY 40601
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                     Kentucky Revenue Cabinet
                     Attn: Legal Dept - Bankruptcy
                     PO Box 5222
                     Frankfort KY 40602-5222


                     KochAir
                     1900 W. Lloyd Expressway
                     Evansville IN 47712


                     M&T Bank
                     PO Box 17292
                     Baltimore MD 21203


                     M&T Bank
                     PO Box 17292
                     PA 17292


                     Martin Gas, Inc.
                     P.O. Box 783
                     Hindman KY 41822


                     Modern Construction, Inc.
                     P.O. Box 187
                     Stanville KY 41659


                     National Pen Company
                     P.O. Box 847203
                     Dallas TX 75284-7203


                     Nationwide
                     328 High Land Park Dr.
                     Richmond KY 40475


                     Phil Allen, Attorney
                     Richard James & Assoc.
                     4317 NE Thurton Way, #270
                     Vancouver WA 98662


                     Premier Capital Funding, LLC
                     9265 4th Ave.
                     Brooklyn NY 11209


                     Prestonsburg Primary Care
                     535 N. Lake Drive
                     Prestonsburg KY 41653
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                     R.E. Michel Company
                     One R.E. Michel Drive
                     Glen Burnie MD 21060


                     R.L. Craig Company, Inc.
                     11524 Commonwealth Drive
                     Louisville KY 40299


                     Rich Fatalo, Attorney
                     400 W. cummings Park, Ste 4450
                     Woburn MA 01801


                     Sinclair Broadcast Group - WDKY
                     P.O. Box 206270
                     Dallas TX 75320-6270


                     Square Capital
                     1455 Market Street, #600
                     San Francisco CA 94103


                     State Electric Supply
                     PO Box 890889
                     Charlotte NC 28289


                     Sujata Gutti
                     515 S. Bypass Road, #101
                     Pikeville KY 41501


                     Sunbelt Rentals
                     PO Box 410968
                     Charlotte NC 28241


                     The UPS Store
                     4145 N. Mayo Trail
                     Pikeville KY 41501


                     Thermal Equipment Sales, Inc.
                     680 Bizzell Drive
                     Lexington KY 40510


                     Thomas & Thomas Attorneys at Law
                     2323 Park Ave.
                     Cincinnati OH 45206
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                     Trane Supply
                     115 49th Street
                     Brooklyn NY 11232


                     UK Healthcare
                     Department of Patient Accounts
                     Room A101
                     1000 South Limestone, Pavilion A
                     Lexington KY 40536


                     UK HealthCare
                     PO Box 1688
                     Lexington KY 40588-1688


                     UMG
                     241 Covington Drive
                     Bloomingdale IL 60108


                     US Bank
                     PO Box 790179
                     Saint Louis MO 63179-0179


                     US Bank
                     PO Box 6335
                     Fargo ND 58125-6335


                     US Bank
                     Lexington/Central KY - Indirect Lending
                     PO Box 790179
                     Saint Louis MO 63179-0179


                     US Bank
                     Cardmember Services
                     PO Box 6352
                     Fargo ND 58125-6352


                     US Bank Business Edge Platinum Card
                     Cardmember Services
                     PO Box 6353
                     Fargo ND 58125-6353


                     US Bank NA
                     PO Box 3427
                     Oshkosh WI 54903
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                     Valassis Direct Mail
                     14550 Torrey Chase Blvd. #500
                     Houston TX 77040


                     Verizon Wireless
                     524 W. New Circle Road, Ste. 100
                     Lexington KY 40511


                     W. Va. Electric Supply Co.
                     250 12th Street West
                     Huntington WV 25704


                     WDOC, Inc.
                     P.O. Box 345
                     Prestonsburg KY 41653


                     Wells Fargo
                     Consumer Credit Services
                     PO Box 51193
                     Los Angeles CA 90051-5493


                     Wells Fargo Bank
                     800 Walnut, 6th Floor
                     Des Moines IA 50309


                     Wells Fargo Bank, NA
                     c/o Millsap & Singer LLC
                     612 Spirit Drive
                     Chesterfield MO 63005


                     Wells Fargo Corporate Office
                     420 Montgomery Street
                     San Francisco CA 94104


                     Whayne Supply Company
                     10001 Linn Station Road
                     Louisville KY 40232


                     WQHY-FM
                     P.O. Box 345
                     Prestonsburg KY 41653
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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